       Case 6:21-cv-01292-ADA-JCM Document 3 Filed 01/18/22 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

JAMES RAY COMPTON,                                 §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §   CASE NO. 6:21-CV-01292-ADA-JCM
                                                   §
DEUTSCHE   BANK                 NATIONAL           §
TRUST COMPANY,                                     §
                                                   §
                Defendant.                         §
                                                   §
                                                   §
                                                   §

         DOCKET CONTROL ORDER PURSUANT TO RULES 16(b) AND 26(f)

        Came for consideration the above-styled matter. IT IS HEREBY ORDERED that

the parties confer pursuant to Federal Rule of Civil Procedure 26(f) and file with the Court,

on Monday, February 7, 2022, both a joint proposed scheduling and discovery plan

reflecting the Rule 26(f) criteria AND a completed version of the Court’s standard

Scheduling Order. 1 The parties or their counsel shall confer, complete and prepare the

form, obtain the appropriate signatures, and e-mail the proposed scheduling order in Word

format to Melanie_Miller@txwd.uscourts.gov and Elizabeth_Gardner@txwd.uscourts.gov

no later than the end of business, 5:00 pm on February 7, 2022.

        During the Rule 26(f) meeting, the parties or their counsel shall discuss the nature

and basis of their claims and defenses, the possibilities for prompt settlement or resolution

of the case, and the scope and type of discovery, including electronic discovery.


1
   The Scheduling Order can be accessed online at the Court’s website: https://www.txwd.uscourts.gov/wp-
content/uploads/Standing%20Orders/Waco/Manske/Proposed%20Scheduling%20Order%20for%20U.S.%20Magist
rate%20Judge%20Manske.pdf


                                             Page 1 of 4
       Case 6:21-cv-01292-ADA-JCM Document 3 Filed 01/18/22 Page 2 of 4




The parties shall also arrange for the disclosures required by Rule 26(a)(1) and develop

their joint proposed scheduling/discovery plan. These are the minimum requirements for

the meeting.   The parties are encouraged to have a comprehensive discussion and are

required to approach the meeting cooperatively and in good faith. The discussion of claims

and defenses shall be a substantive, meaningful discussion. In addressing settlement or

early resolution of the case, the parties are required to explore the feasibility of ADR

between themselves as well. If the parties elect not to participate in an early ADR effort,

the Court may nonetheless require a settlement conference shortly before trial.

       In addressing the Rule 26(a)(1) disclosures, the parties shall discuss the appropriate

timing, form, scope or requirement of the initial disclosures, keeping in mind that

Rule 26(a)(1) contemplates the disclosures will be made by the date of the Rule 16(b)

initial scheduling conference and will include at least the categories of information listed in

the rule. Rule 26 affords the parties flexibility in the scope, form and timing of disclosures

under both Rule 26(a)(1) (initial disclosures) and Rule 26(a)(2) (expert witness

disclosures), but the parties' agreement on disclosures is subject to approval by

the undersigned.    In their discussion of disclosures, counsel shall address issues of

relevance in detail, with each party identifying what it needs and why. The discussion

shall include the sequence and timing of follow-up discovery, including whether that

discovery should be conducted informally or formally and whether it should be conducted

in phases to prepare for filing of particular motions or for settlement discussions.

       In addressing electronic discovery, the parties shall discuss what electronic sources

each party will search, difficulty of retrieval, preservation of records, the form of

production (electronic or hard-copy, format of production, inclusion of meta-data, etc.),



                                          Page 2 of 4
       Case 6:21-cv-01292-ADA-JCM Document 3 Filed 01/18/22 Page 3 of 4




cost of production and which party will bear the cost, privilege/waiver issues, and any

other electronic discovery issues present in the case. Before engaging in the Rule 26

discussion, the parties should determine who is most familiar with the client's computer

system, what electronic records the client maintains, how the client's electronic records are

stored, the difficulty/ease of retrieving various records, the existence and terms of the

client's document retention/destruction policy, and whether the client has placed a

"litigation hold" preventing destruction of potentially relevant records.

       Finally, the Court ORDERS discovery disputes be resolved in the following

manner:

(1)    The parties will confer and fully comply with Federal Rule of Civil

       Procedure 37(a)(2) and Local Rule AT-4(e) by undertaking sincere and good-faith

       efforts to resolve all differences without the undersigned’s action or intervention.

(2)    If reasonable, good faith efforts are made by all parties to resolve the dispute(s)

       without success, the parties will then schedule a telephonic conference with the

       undersigned to resolve the disputes BEFORE filing any motion. Filing a motion

       before exhaustion of these steps may result in summary denial of a compel motion.

(3)    If the conference does not resolve the dispute, the Court will then entertain a motion

       to compel, for protective order, or for other relief. The moving party shall comply

       with Federal Rule of Civil Procedure 37(a)(2) and Local Rule AT-4(e) in preparing

       such motion and will submit the appropriate certifications to the Court.

(4)    The Court may refuse to hear any discovery motion for noncompliance with any of

       the above, including failure to make a good faith effort to resolve the dispute.




                                          Page 3 of 4
       Case 6:21-cv-01292-ADA-JCM Document 3 Filed 01/18/22 Page 4 of 4




       The Court may also award costs and / or reasonable attorney’s fees for

       noncompliance with the above steps.

If a dispute arises in the limited situations where compliance with the above is unfeasible

(for example, during a deposition), the parties may contact the undersigned’s chambers for

an immediate conference on the dispute. This should be considered an option of last resort.

       The Court would also like to relay the following to the parties:


   •   1. The Court has recently faced a spate of discovery objections that do not track the 2015
       amendments to the Federal Rules. Please remember that boilerplate objections are
       unacceptable.

   •   2. In addition to tracking the 2015 amendments to the Federal Rules, be sure to note the
       condition precedent in the Docket Control Order in this matter that requires a telephonic
       conference before filing a motion to compel.

   •   3. Judge Manske is available during depositions if you feel a deponent is being evasive
       or his or her respective counsel is improperly objecting or invoking privilege. Please call
       the Court if this is happening; Judge Manske will resolve the matter and admonish the
       deponent to respond appropriately.

   •   4. Judge Manske and Judge Albright are not opposed to counsel contacting their
       respective law clerks for matters of preference or non-substantive matters. Both Judges'
       clerks are well-trained on what is or isn't a substantive matter and will refuse to
       communicate in an ex-parte manner on any substantive matters.
SIGNED this 18th day of January, 2022.




                                     JEFFREY C. MANSKE
                                     UNITED STATES MAGISTRATE JUDGE




                                           Page 4 of 4
